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                                UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                        OAKLAND DIVISION
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12    LAURI VALJAKKA,                          Case No. 4:22-cv-01490-JST
13             Plaintiff,                      [PROPOSED] ORDER GRANTING
                                               DEFENDANT NETFLIX, INC.’S MOTION
14       v.                                    TO SHORTEN TIME TO HEAR THE
                                               MOTION FOR A PRELIMINARY
15    NETFLIX, INC.,                           INJUNCTION, THE MOTION TO AMEND
                                               THE SCHEDULING ORDER, AND THE
16             Defendant.                      MOTION TO AMEND TO ADD A
                                               COUNTERCLAIM
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                                               Judge:    Hon. Jon S. Tigar
18                                             Crtrm:    6 – 2nd Floor
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     [PROPOSED] ORDER SHORTENING TIME                                CASE NO. 4:22-cv-01490-JST
        Case 4:22-cv-01490-JST Document 136 Filed 08/30/23 Page 2 of 2



 1          The Court, having considered Netflix’s Application for an Order Shortening Time
 2   (“Application”) for a hearing on Netflix’s concurrently-filed Motion for a Preliminary Injunction,
 3   Motion to Amend the Scheduling Order, and Motion to Amend to Add a Counterclaim (collectively,
 4   the “Motions”), and good cause appearing therefore, hereby GRANTS the Application and
 5   ORDERS as follows:
 6          1.     The Motions will be set for hearing on September 14, 2023; September 21, 2023;
 7          2.     Any oppositions will be filed on September 4, 2023; and
 8          3.     Any replies will be filed on September 7, 2023.
 9          IT IS SO ORDERED.
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11   Dated: August 30, 2023
12
                                                    THE HONORABLE JON S. TIGAR
13                                                  United States District Judge

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     [PROPOSED] ORDER SHORTENING TIME                                         CASE NO. 4:22-cv-01490-JST
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